Case 9:10-cv-81575-KLR Document 5 Entered on FLSD Docket 01/07/2011 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                      CASE NO. 10-81575-Civ-Ryskamp/Vitunac

 JONATHAN C. LAFONTIN,

       Plaintiff,

 v.

 IMPERIAL CREDIT SYSTEMS, INC.,

      Defendant.
 _________________________________________/

              PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                            WITH PREJUDICE

       Having amicably resolved all matters in controversy and pursuant to Federal

 Rule of Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with

 prejudice.




                                        Respectfully submitted,

                                        DONALD A. YARBROUGH, ESQ.
                                        Attorney for Plaintiff
                                        Post Office Box 11842
                                        Fort Lauderdale, Florida 33339
                                        Telephone: (954) 537-2000
                                        Facsimile: (954) 566-2235
                                        donyarbrough@mindspring.com

                                        s/Donald A. Yarbrough
                                        Donald A. Yarbrough, Esq.
                                        Florida Bar No. 0158658
Case 9:10-cv-81575-KLR Document 5 Entered on FLSD Docket 01/07/2011 Page 2 of 2




                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                       Case No.: 10-81575-Civ-Ryskamp/Vitunac


       Plaintiff,
 v.

 IMPERIAL CREDIT SYSTEMS, INC.,
 JONATHAN C. LAFONTIN,

       Defendant.
 _______________________________/

                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 7, 2011 I electronically filed the foregoing
 document with the Clerk of Court using CM/ECF. I also certify that the foregoing
 document is being served this day on all counsel of record or pro se parties identified on
 the attached Service List in the manner specified, either via transmission of Notices of
 Electronic Filing generated by CM/ECF or in some other authorized manner for those
 counsel or parties who are not authorized to receive electronically Notices of Electronic
 Filing.



                                                 s/Donald A. Yarbrough
                                                 Donald A. Yarbrough, Esq.


                                    SERVICE LIST

 Michael G. Snow
 Imperial Credit Systems, Inc.
 Suite 302
 125 North Parkside Drive
 Colorado Springs, CO 80909
 Telephone: 719-243-5061
 Facsimile: 719-473-4968

 Via U.S. Mail and Facsimile.
